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Fi|| in this information to identify the case:

 

i Debtor name 616 L¢:iftsr LLC

 

United States Bankruptcy Court for the: WESTERN D¢iSTRiCT OF iVifCHlGAN

 

Case number (if known) 18-05362

 

- Check if this is an
amended filing

 

Official Form 207
Statement of Financia| Affairs for Non-individua|s Fi|ing for Bankruptcy ome

 

The debtor must answer every question. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known}.

m lncome

1. Gross revenue from business

 

 

i:i None.
identify the beginning and ending dates of the debtor’s fiscal yearl Sources of revenue Gross revenue
which may be a caiendar year Check all that apply (before deductions and
exclusions)
From the beginning of the fiscal year to filing date: l Operating a business $152,650.00
Frorn 1[01/2018to121'31!2018 h
- Other Management income
F°l' Prior yeah - Operating a business $754,251-00
From 1/01[2017 to 1213‘1.'2017 Renta| incomes Otheil '
Revenue,
- Other Development Fees
F°" year before that l Operating a business $2,155,198-00

Ft‘Om 1.|'0'11'2016 tO 12131[20'16 2016 |Rs Form 1065

- Other line 3

 

2. Non-business revenue
include revenue regardless of whether that revenue is taxable Non-busr'ness income may include interestl dividendsl money collected from iawsuits,
and royalties List each source and the gross revenue for each separately Do not include revenue listed in line 1.

- None.

Description of sources of revenue Gross revenue from
each source
(before deductions and
exciusions)

List Certain Transfers Made Before Fi|ing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
List payments or transfers-including expense reimbursements-to any creditor, other than regular employee compensation, within 90 days before
filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted orr 4/01,"|9
and every 3 years after that with respect to cases iiied on or after the date of adjustment.)

- None.
Creditor's Name and Address Dates Totai amount of value Reasons for payment or transfer
Check ali that apply
Otticiai Form 207 Statement of Financiai Affairs for Non-individua|s Fi|ing for Bankruptcy page 1

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4. Payments or other transfers of property made within 'i year before filing this case that benefited any insider

List payments or transfers, including expense reimbursementsl made within 1 year before filing this case on debts owed to an insider or guaranteed
or cosigned by an insider unless the aggregate value ofa|l property transferred to or for the benefit of the insider is less than $6,425. (Ttiis amount
may be adjusted on 4/01!19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
listed in line 3. insiders include otHcers, directors, and anyone in control of a corporate debtor and their reiatives; general partners of a partnership
debtor and their reiatives; ainiates ofthe debtor and insiders of such amiiates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

|:i None.
lnsider's name and address Dates Totai amount of value Reasons for payment or transfer
Relationship to debtor
4_1_ James Cook 2018 $30,250.00 lnter'(-:redltor Agreement
6145 Sagamore Lane eHectlve 02[16!18

Kaiamazoo, Ml 49004
MEMBER CO- MANAGER

4.2. F|TB, LLC 2013 $90’750_00 inter-C_)reditor Agreement
4380 BRocKToN oRivE ss sffe¢tlve 02116/18
suiTE 1
Grand Rapids, Ml 49512
soLE MEMBER is A MEMBER
co-MANAGER oi= nEBToR

5. Repossessions, foreclosures, and returns

List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditorl sold at
a foreclosure sa|e, transferred by a deed in lieu of foreclosure or returned to the seller. Do not include property listed in line 6.

- None

Creditor's name and address Describe of the Property Date Vaiue of property

Setoffs

List any creditor, including a bank or iinancial institution that within 90 days before nling this case set off or otherwise took anything from an account
of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a
debt

l None

Creditor`s name and address Description of the action creditor took Date action was Amount
taken

-Ega| Actions or Assignments

 

 

7. Legai actions, administrative proceedings, court actions, executions, attachments, or governmental audits
List the legal actions, proceedings investigationsl arbitrationsl mediations, and audits by federal or state agencies in which the debtor was involved
in any capacity_within ‘l year before filing this case.
|:| None.
Case title Nature of case Court or agency's name and Status of case
Case number address
7.1. Norman H. Lesiie v. 616 Lofts, Co|iection: Cierk of the Court l:| Pending
LLC Guaranty Fee & Kent County Circuit Court |:| On appeal
18-05654-CBB Reimbursement 180 Ottawa Avenue NW - Conc|uded
Agreement Suite 2400
Grand Rapids, M| 49503
7.2. Violet Hough v. 616 Lofts, C|erk of the Court |:l Pending
LLC Kent County Circuit Court l:| Op appeal
17-05432 180 Ottawa Avenue NW -
. C l
suite 2400 °"° uded
Grand Rapids, M| 49503
B. Assignments and receivership
Oftici`al Forrn 207 Statement of Financiai Affairs for Non-|ndividuais Fi|ing for Bankruptcy page 2

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Debtor 616 Lofts, LLC 7 ‘_ Case number (i‘ri<nowni j§.05362

List any property in the hands of an assignee for the benefit of creditors during the 120 days before nling this case and any property in the hands of a
receiver, custodian, or other court-appointed officer within 1 year before Hling this case.

l None

Certain Gifts¢and Charitabie Contributions

9. List ali gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
the gifts to that recipient is less than $1,000

- None

Recipient's name and address Description of the gifts or contributions Dates given Vaiue

merwin Losses

tU. All losses from fire, theft, or other casualty within 1 year before filing this case.

- None
Description of the property lost and Amount of payments received for the loss Dates of loss Vaiue of property
how the loss occurred lost

if you have received payments lo cover the ioss, for
examplel from insurance, government compensation or
tort liability, |istthe total received

List unpaid ctaims on Otncial Form 105AiB (Scheo‘uie
A/B: Assefs - Reai and Persorial Property)_

m Certain Payments or Transfers

11. Payments related to bankruptcy
List any payments of money or other transfers of property made by the debtor or person acting ori behalf ofthe debtor within 1 year before the Hl'ing

of this case to another person cr entityY including attorneysl that the debtor consulted about debt consoiidatiori or restructuring seeking bankruptcy
reiief, or filing a bankruptcy case.

L_.i None.
Who was paid or who received if not money, describe any property transferred Dates Totai amount or
the transfer? value
Address

11.1. Wardrop & Wardrop, P.C.
300 Ottawa Avenue, N.W.
Suite 150
Grand Rapids, Mi 49503-2308 Attorney Fees and Cosfs 12/26/18 $5,335.00

Emaii or website address
bkfilings@wardropiaw.com

 

Who made the payment, if not debtor?
FlTB, LLC

 

12. Seif-settied trusts of which the debtor is a beneficiary

List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
to a self-settled trust or similar devicel
Do not include transfers already listed on this statement

- None.

Name of trust or device Describe any property transferred Dates transfers Totai amount or
were made value

13. Transfers not already listed on this statement
List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
2 years before the Hiing of this case to another person, other than property transferred in the ordinary course of business or Hnancia| affairs include
Officiai Forrn 20?' Statement of Financiai Affairs for Non-individuais Fi|ing for Banliruptcy page 3

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Debtor _61_6 Lofts, LLC _ Case number rirl<ngwn) 18-05362 _

 

 

both outright transfers and transfers made as security. Do not inciude gifts or transfers previously listed on this statement

L_..l None.
Who received transfer? Description of property transferred or Date transfer Total amount or
Address payments received or debts paid in exchange was made value
13_1 Assignment of Rights to 07/26)'17
FITB, LLC Assignment of Property Management
4330 BROCKTON DR|VE SE Agreements for % of Col|ected
SU|TE 1 Management Feeslmonth on seven

grand Rapids, nw 49512 projects, 06121:2013 $1.00

 

 

Relationship to debtor
manager member is co
manager member of Debtor

 

 

Previous_t:ocations _

14. Previous addresses
List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

 

ij Does not apply

 

Address Dates of occupancy
From-To
14-1- 820 Monroe Ave 08."2017 - 07:'2018
#329
Grand Rapids, lVll 49503
14-2- 16 Monroe Center NE 01/2013 - 08!2017
Ste 200

Grand Rapids, M| 49503

Health Care Brankruptcies

15. Hea|th Care bankruptcies
ls the debtor primarily engaged in offering services and facilities for:
- diagnosing or treating injury, deformity, or diseasel or
- providing any surgical` psychiatric, drug treatment or obstetric care?

- No. Go to Part 9.
|:l Yes. Fill in the information below.

Facility name and address Nature of the business operation, including type of services |f debtor provides meals
the debtor provides and housing, number of
patients in debtor’s care

m Persoriatly identifiable information

16. Does the debtor collect and retain personally identifiable information of customers'?

- Nor

l:l Yes. State the nature Of the information collected and retained

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ER|SA, 401(k), 403(b), or other pension or
profit-sharing plan made available by the debtor as an employee benefit?

l No. Go to Part 10.
l:! Yes. Does the debtor serve as plan administrator?

m Certain Financial Accou¢nt¢sr, Safe Deposit Boxes, and Storage Units 7 7
Officiat Form 20? Statement of Financial Affairs for Non-lndividuais Fi|ing for Bankruptcy page 4

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Debtor M§_|__ths, LLC Case number (iri<mwm 18-05362

 

 

1B. Closed financial accounts
Within 1 year before ming this case, were any financial accounts or instruments held in the debtor`s name. or for the debtor’s benefit, closed. soid.
moved, or transferred'?
include checking, savings money market, or other Hnanciai accounts; certificates of deposit; and shares in banks, credit unions brokerage houses,
cooperatives associations and other financial institutions

- None
Financia| institution name and Last 4 digits of Type of account or Date account was Last balance
Address account number instrument closed, soid, before closing or
movedl or transfer
transferred

19. Safe deposit boxes
List any safe deposit box or other depository for securitiesl cash, or other vatuables the debtor now has or did have within 1 year before filing this

case.
- None
Depository institution name and address Names of anyone with Description of the contents Do you still
access to it have it?

Address

20. Off-premises storage
List any property kept in storage units or warehouses Within 1 year before ming this case. Do not inciude facilities that are in a part of a building in
thch the debtor does business.

i:i None

Faciiity name and address Names of anyone with Description of the contents Do you still
access to it have it?

Storage Bins Jeff Baker fixtures |:i No

820 Monroe 4380 BROCKTON DRIVE - YBS

Grand Rapids, M[ 49503

SE

SU|TE 1
Grand Rapids, Nll 49512

 

m Property the Debtor Ho|ds or Contro|s That the Debtor Does Not Own

21. Property heid for another
List any property that the debtor hode or controls that another entity owns include any property borrowed from, being stored forl or held in trust. Do
not list leased or rented property

l None

For the purpose of Part 12, the foitowing dennitions apply:
Environmentai law means any statute or governmental regulation that concerns poiiution, contamination or hazardous materiai, regardless of the
medium affected (aér. land, Water, or any other medium).

S."te means any location, facility, or property, including disposal sites, that the debtor now owns, operates or utilizes or that the debtor formerly
owned, operated, or utilized.

Hazaro'ous material means anything that an environmental law defines as hazardous or toxic` or describes as a pollutant contaminant or a
similarly harmful substance

Report ali notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in anyjudicia| or administrative proceeding under any environmental law? include setttements and orders

- No.
i:i Yes. Provide details beiow.
Oftictal Form 2011 Statement of Financiai Affairs for Non-lndividuais Fi|ing for Bankruptcy page 5

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Debtor 616 Lofts, |:LC Case number (rri<nuwn) 18-05362
Case title Court or agency name and Nature of the case Status of case
Case number address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
environmental |aw?

- No.

i:i Yes. Provide details below.

Site name and address Governmental unit name and Environmental law, if known Date of notice
address

24. Has the debtor notified any governmental unit of any release of hazardous materiai?

- No.

[:i Yes. Provide details beiow.

Site name and address Governmentai unit name and Environmental law, if known Date of notice
address

m Detai|s About the Debtor's Business or Connections to Any Business
25. Other businesses in which the debtor has or has had an interest

i_ist any business for which the debtor was an owner, partner, member. or otherwise a person in controt within 6 years before ming this case.
include this information even if already listed in the Schedules.

l None

Business name address Describe the nature of the business Employer identification number
Do not include Sociai Security number or |TlN.

Dates business existed

26. Books, records, and financial statements
26a. List ali accountants and bookkeepers who maintained the debtor`s books and records within 2 years before filing this case.

 

 

l:i None
Name and address Date of service
From-To

263.1. David M. Lefere 2018 - present
140 Michigan
Suite 140
Grand Rapids, Ml 49503

263~2- Susan Klaiss January 2017
3660 Hidcien Meadow Lane
Grand Rapids, Ml

263-3- Steven D Struck 2018 preparation of
Baker Holtz PC 2017 |RS Form 1065

161 Ottawa Ave NW #200
Grand Rapids, Mi 49503

 

26b. List all firms or individuals who have audited. compiled, or reviewed debtor`s books of account and records or prepared a financial statement
Within 2 years before filing this case.

- None

26c. List all firms or individuals who Were in possession of the debtor`s books of account and records when this case is med.

[i None
Name and address if any books of account and records are
unavailable, explain why
Offtcia| Form 207 Statement of Financial Affairs for Non-|ndividuais Fi|ing for Bankruptcy page 6

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Debtor 616 Lofts, LLC Case number rrrknuwn) 13-05362

 

 

Name and address if any books of account and records are

unavailablel explain why

Have pdf and excel recordsl do not have the
financial software

266.1- Yardi i Quickbooks

 

26d. List all financial institutions creditors and other parties including mercantile and trade agencies to Whom the debtor issued a financial
statement within 2 years before filing this case.

- None
Name and address

27. inventories
Have any inventories of the debtor`s property been taken within 2 years before ming this case?

- No
Ei Yes. Give the details about the two most recent inventories

Name of the person who supervised the taking of the Date of inventory The dollar amount and basis (cost, market,
inventory or other basis) of each inventory

28. List the debtor’s officersl directors managing members, general partners members in controi, controlling shareholders or other people
in control of the debtor at the time of the filing of this case.

 

 

 

Name Address Position and nature of any % of interest, if
interest any
Jeffrey L. Baker Trust 4380 BROCKTON DR|VE SE Co-Manager member 25.0
SUlTE 1
Grand Rapids, M| 49512
Name Address Position and nature of any % of interest, if
interest any
James Cook 6145 Sagamore Lane Co-Manager Member 25.0
Kaiamazoo, M| 49004
Name Address Position and nature of any % of imerest, if
interest any
DC Trust UAD 01/11!2013 Derek Coppess Trustee Member 27.5
1132 Pinecrest Ave SE
Grand Rapids, Ml 49506
Name Address Position and nature of any % of interestl if
interest any
Matthew O'Connor Trust 4807 Firef|y Dr NE Member 20.0

UAD 111141'2014

Grand Rapids, Mi 49525

 

Name Address Position and nature of any % of interestl if
interest any
Jeremy Frost 2808 Burwood Hi|i Ct Member 2.5

Ada, Ml 49301

 

29. Within 1 year before the filing of this case, did the debtor have officers, directors managing members, general partnersl members in
control of the debtor, or shareholders in control of the debtor who no longer hold these positions‘?

. No
l:i Yes. identify beiow.

30. Payments, distributions or withdrawals credited or given to insiders
Within 1 year before ming this case, did the debtor provide an insider with value in any form, including saiary, other compensation draws bonuses
loans credits on loans stock redemptions and options exercised?

Ofiiciai Form 207 Statement of Financial Affairs for Non-individuals Fi|ing for Eiankruptcy page 7

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Debtor 616 Lofts’ LLC 7 Case number (ir¢<ncwni 18-05362
- No
ij Yes. identify beiow.
Name and address of recipient Amount of money or description and value of Dates Reason for
property providing the value

314 Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

l No
i:l Yes.ldentify below.

Name of the parent corporation Employer identification number of the parent
corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

l No
i:l Yes. identify below.

Name of the pension fund Employer identification number of the parent
corporation

Officiai Form 207 Statement of Financia| Affairs for Non-lndividuais Fi|ing for Bankruptcy page 8

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Debtor 7§717577|_01={5, LLC Case number irrknuwni 15.05352

 

m Signature and Deciaration

WARN|NG - Bankruptcy fraud is a serious crime. Making a faise statement concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in nnes up to $500.000 or imprisonment for up to 20 years or both.
18 U.S.C. §§ ‘i52, 1341, 1519. and 3571.

| have examined the irrlonnation in this Statemenrof Financiai Afrairs and any attachments and have a reasonabie beiief that the information is true
and correct

| declare under penalty of perjury that the foregoing is true and correct

Jan
f /
v __i,_it_§ll"__q___“__u¥*_”__&77777¢777 Jarnes Cook ¢"¢; 7
'vid al signing on behalf of the debtor Printed name ( )

Executed on

   
   
  
  

 

' to debtor Co-Manager

Are additional pages to Statement of Financr'al Affai'rs for Non-lndivr'duals Fii‘i'ng for Bankruptcy {Officiai Form 207) attached?
- No

ij Yes

Olfrcial Form 207 Statement of Financiai Affairs for lion-individuals Fi|ing for Eankruptcy page 9

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